     Case 4:20-cr-00085-WTM-CLR Document 15 Filed 12/30/20 Page 1 of 2




               IN THE UNITED STATES DISTRICT COURT FOR
                  THE SOUTHERN DISTRICT OF GEORGIA
                           SAVANNAH DIVISION




UNITED STATES OF AMERICA,


V.                                               Case No.   CR420-020
                                                            CR420-085
LAWRENCE FRANKLIN,                                          CR420-087


                  Defendant




UNITED STATES OF AMERICA,


V.                                               Case No.   CR420-057


JAFARI ANDERSON,

                  Defendant




                                 ORDER




     Katie A. Brewington, counsel of record for defendants in the

above-styled cases, has moved for leave of absence.            The Court is

mindful that personal and professional obligations require the

absence   of    counsel   on   occasion.   The    Court,    however,    cannot

accommodate its schedule to the thousands of attorneys who practice

within the Southern District of Georgia.

     Counsel may be absent at the times requested. However, nothing

shall prevent these cases from going forward; all discovery shall
    Case 4:20-cr-00085-WTM-CLR Document 15 Filed 12/30/20 Page 2 of 2



proceed, status conferences, pretrial conferences, and trial shall
not be interrupted or delayed. It is the affirmative obligation of

counsel to provide a fitting substitute.


     SO ORDERED this 5^dav of December 2020.

                                 HONORABLE WILLIAl^. MOORE, JR
                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF GEORGIA
